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17
                           UNITED STATES DISTRICT COURT
18               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

19
     CHASOM BROWN, et al., on behalf of              Case No. 4:20-cv-03664-YGR-SVK
20   themselves and all others similarly situated,
                                                     JOINT      STIPULATION      AND
21          Plaintiffs,                              [PROPOSED] ORDER REGARDING
                                                     BRIEFING SCHEDULE AND HEARING
22          v.                                       DATE FOR PLAINTIFFS’ MOTION FOR
                                                     FINAL APPROVAL OF CLASS ACTION
23   GOOGLE LLC,                                     CERTIFICATION (DKT. 1096) AND
                                                     MOTION FOR AN AWARD OF
24          Defendant.                               ATTORNEYS’ FEES

25                                                   Hon. Yvonne Gonzalez Rogers

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                                                                     Case No. 4:20-cv-03664-YGR-SVK
                                                        JOINT STIPULATION AND [PROPOSED] ORDER
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 1          Pursuant to Civil Local Rule 6-2 and 7-12, this joint stipulation is entered into between

 2 Plaintiffs and Google LLC (“Google”), collectively referred to as the “Parties.”

 3          WHEREAS, on April 1, 2024, Plaintiffs filed their Motion for Final Approval of Class

 4 Action Settlement (the “Final Approval Motion”) (Dkt. 1096);

 5          WHEREAS, on April 8, 2024, Google filed its Statement of Non-Opposition and
 6 Clarification Regarding Plaintiffs’ Motion for Final Approval of Class Action Settlement (Dkt.

 7 1102);

 8          WHEREAS, the hearing on Plaintiffs’ Final Approval Motion is currently noticed for July
 9 30, 2024;

10          WHEREAS, Plaintiffs will soon file a motion for attorneys’ fees, costs, and service awards;

11          WHEREAS, pursuant to the Northern District of California’s Procedural Guidance for Class

12 Action Settlements, requests for attorney’s fees must be noticed for the same date as the final

13 approval hearing;

14          WHEREAS, Google is unavailable for the hearing that Plaintiffs noticed for July 30, 2024,

15 and has proposed August 7, 2024 as a replacement date;

16          WHEREAS, Plaintiffs have no objection to re-noticing the hearing for August 7, 2024.

17          NOW THEREFORE, the Parties stipulate to the following briefing schedule and hearing

18 date:

19          1.     The deadline for Plaintiffs to file their Motion for An Award of Attorneys’ Fees,

20 Costs, and Service Awards (the “Fee Motion”) shall be April 23, 2024;
21          2.     The deadline for Google to file any opposition to Plaintiffs’ Fee Motion shall be June

22 7, 2024;

23          3.     The deadline for Plaintiffs to file any reply in support of their Fee Motion shall be
24 June 21, 2024; and

25          3.     The date for the hearing on Plaintiffs’ Final Approval Motion and Fee Motion shall

26 be moved to August 7, 2024.

27

28 DATED: April 15, 2024

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1                                      [PROPOSED] ORDER

2         Pursuant to stipulation of the Parties, the Court hereby ORDERS:

3         1.     Plaintiffs’ Motion for An Award of Attorneys’ Fees, Costs, and Service Awards (the

4 “Fee Motion”) is due on April 23, 2024.

5         2.     Google’s opposition to Plaintiffs’ Fee Motion is due on June 7, 2024.
6         3.     Plaintiffs’ reply in support of their Fee Motion is due on June 21, 2024.

7         3.     The date for the hearing on Plaintiffs’ Final Approval Motion and Fee Motion is

8 moved to August 7, 2024.
9

10        IT IS SO ORDERED.

11

12   DATED:
                                                     HON. YVONNE GONZALEZ ROGERS
13                                                   United States District Judge
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                                                   -4-                 Case No. 4:20-cv-03664-YGR-SVK
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